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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO
                                 SOUTHERN DIVISION

DANIEL LAMBETH,                                )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )       Case No. 1:13-cv-00084-BLW
                                               )
GC SERVICES, LP,                               )
                                               )
       Defendants.                             )

                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff, DANIEL LAMBETH, through Jacquot Law PLLC, and pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(i),voluntarily dismisses this case, with prejudice, against

Defendant, GC SERVICES, LP.

                                     RESPECTFULLY SUBMITTED,

May 13, 2013                         By: /s/ Ann Jacquot____________
                                             Ann Jacquot
                                             Attorney for Plaintiff

                               CERTIFICATE OF SERVICE
        On May 1, 2013, I electronically filed the Voluntary Dismissal with the Clerk of the U.S.
District Court, using the CM/ECF system. I e-mailed a copy of this filed document to
Defendant’s counsel, Carlos Ortiz, at cortiz@hinshawlaw.com

                                     By:/s/ Ann Jacquot____________
                                             Ann Jacquot
